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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )              CASE NO. 8:05CR252
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )              TENTATIVE FINDINGS
                                               )
JAIME GUITRON,                                 )
                                               )
              Defendant.                       )


       The Court has received the Revised Presentence Investigation Report (“PSR”) and

the Defendant‘s objections thereto (Filing No. 93). The government has adopted the PSR.

(Filing No. 91.) See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing guidelines are

advisory.

       The Defendant objects to the addition of 2 criminal history points for recency

pursuant to U.S.S.G. § 4A1.1(e) in ¶ 98.           The objection is denied for the reasons

expressed in the Addendum to the PSR, which refers to ¶ 76 of the PSR.

       IT IS ORDERED:

       1.     The Defendant’s Objections to the Presentence Investigation Report (Filing

No. 93) are denied;

       2.     Otherwise the Court’s tentative findings are that the Presentence

Investigation Report is correct in all respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
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challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 23rd day of March, 2006.

                                                   BY THE COURT:

                                                   s/Laurie Smith Camp
                                                   United States District Judge




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